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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 HUMANA INC., ET AL.,                          §
                                               §
      Plaintiffs,                              §
                                               §
 v.                                            §    Civil Action No. 4:24-CV-01004-O
                                               §
 U.S. DEPARTMENT OF HEALTH                     §
 AND HUMAN SERVICES, ET AL.,                   §
                                               §
      Defendants.                              §

                                            ORDER

         Before the Court are the Plaintiffs and Defendants Motions for Leave to File Notice of

Supplemental Authority (ECF Nos. 52–53). Having considered the Motions, they are GRANTED.

         SO ORDERED on this 3rd day of July, 2025.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
